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   5   Attorneys for Hold The Door, Corp.
       and Mice and Men LLC
   6

   7                           UNITED STATES DISTRICT COURT

   8                         CENTRAL DISTRICT OF CALIFORNIA

   9   Bureau of Consumer Financial                CASE NO. 8:19-cv-01998-MWF(KSx)
       Protection; State of Minnesota, by its
  10   Attorney General, Keith Ellison; State of   Hon. Michael W. Fitzgerald
       North Carolina, ex rel. Joshua H. Stein,
  11   Attorney General; and The People of
       The                                         NOTICE OF FILING SECOND
  12   State of California, Michael N. Feuer,      SUPPLEMENTAL DECLARATION OF
       Los Angeles City Attorney,                  KAINE WEN IN RESPONSE TO MOTION
  13                                               OF VENABLE LLP TO WITHDRAW AS
                            Plaintiffs,            COUNSEL
  14             v.
                                                   Date: August 31, 2020
  15   Consumer Advocacy Center Inc., d/b/a        Time: 10:00 AM
       Premier Student Loan Center; True           Crtrm: 5A
  16   Count Staffing Inc., d/b/a SL Account
       Management; Prime Consulting LLC,
  17   d/b/a Financial Preparation Services;       Action Filed: October 21, 2019
       TAS 2019 LLC d/b/a Trusted Account          FAC Filed: February 24, 2020
  18   Services; Horizon Consultants LLC;
       First Priority LLC d/b/a Priority
  19   Account Management; Albert Kim,
       a/k/a Albert King; Kaine Wen, a/k/a
  20   Wenting Kaine Dai, Wen Ting Dai, and
       Kaine Wen Dai; and Tuong Nguyen,
  21   a/k/a Tom Nelson,

  22                        Defendants, and

  23   Infinite Management Corp., f/k/a
       Infinite Management Solutions Inc.;
  24   Hold The Door, Corp.; TN
       Accounting Inc.; Mice and Men
  25   LLC; 1st Generation Holdings, LLC;
       Sarah Kim, and Anan Enterprise, Inc.,
  26
                            Relief Defendants.
  27

  28
       NOTICE OF FILING SECOND SUPPLEMENTAL DECLARATION OF KAINE WEN
        IN RESPONSE TO MOTION OF VENABLE LLP TO WITHDRAW AS COUNSEL
Case 8:19-cv-01998-MWF-KS Document 206 Filed 08/27/20 Page 2 of 2 Page ID #:5930



   1         In connection with the Motion to Withdraw as Counsel of Allyson B. Baker,
   2 Gerald S. Sachs, and Witt W. Chang (Venable LLP) for Defendants True Count Staffing,

   3 Inc., Albert Kim, Kaine Wen, and Relief Defendant Infinite Management Corp. (“Motion

   4 to Withdraw”), enclosed herewith is the Second Supplemental Declaration of Kaine Wen,

   5 in response to Venable LLP’s In Camera Supplemental Brief in Support of In Camera

   6 Submission Re: Motion to Withdraw.

   7
             This firm is counsel of record for Relief Defendants Hold The Door, Corp. and Mice
   8
       and Men LLC, not any of the Defendants subject to the Motion to Withdraw. The
   9

  10 declaration of Mr. Wen is not being submitted on behalf of Hold The Door, Corp. and Mice

  11 and Men LLC, but solely to accommodate Mr. Wen, who is otherwise unable to access the

  12
       Court’s ECF system for filing. Neither Eanet, PC nor Matthew Eanet represent Defendants
  13
       True Count Staffing, Inc., Albert Kim, Kaine Wen, and Relief Defendant Infinite
  14

  15 Management Corp. and this filing is not intended to be an appearance on their behalf.

  16    Dated: August 27, 2020             EANET, PC
  17
                                           By:
  18                                             Matthew L. Eanet
  19                                       Attorneys for Relief Defendants Mice and
  20                                       Men, LLC and Hold the Door Corp.

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         NOTICE OF FILING SECOND SUPPLEMENTAL DECLARATION OF KAINE WEN
          IN RESPONSE TO MOTION OF VENABLE LLP TO WITHDRAW AS COUNSEL
